
*287OPINION.
Lansdon :
During the taxable year the petitioner was a close corporation operating under the laws of Ohio. In the circumstances established by the evidence, we are of the opinion that the drawing accounts informally authorized by an oral agreement, to which all stockholders and directors were parties, established the liability of the petitioner for an amount of $4,400 drawn in accordance therewith as compensation or salaries of officers incurred and paid in the year 1919.
There is nothing in the record to indicate that the petitioner is entitled to have its tax liability computed under the provisions of section 328 of the Revenue Act of 1918.

Judgment wiU be entered on 10 days’ notice, under Bule 50.

Considered by Sternhagen and Arundell.
